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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 RAJ K. PATEL,                                     )
                                                   )
                        Plaintiff,                 )
                                                   )
                 v.                                )   C.A. No. 23-797 (MN)
                                                   )
 ALPHABET INC, et al.,                             )
                                                   )
                        Defendants.                )

                                              ORDER

       At Wilmington, this 28th day of August 2023, having considered Plaintiff’s Motion for

Electronic Filing (D.I. 7), IT IS HEREBY ORDERED that the motion is DENIED without

prejudice to renew. Plaintiff is advised that, per the CM/ECF Registration/Training section of the

Court’s website, in order to receive authorization to file electronically, a pro se party must indicate

in their motion that they have independently reviewed all of the materials and related topics on the

Court’s web site and that they have a PACER account.



                                                       The Honorable Maryellen Noreika
                                                       United States District Judge
